  Case 2:23-bk-10545-BR         Doc 24 Filed 05/05/23 Entered 05/05/23 15:54:25                                        Desc
                                 Main Document Page 1 of 2

 1 ROSENDO GONZALEZ, TRUSTEE (State Bar No. 137352)
   530 South Hewitt Street, Suite 148
 2 Los Angeles, CA 90013

 3 Telephone:     (213) 452-0071
   Facsimile:     (213) 452-0080
 4
                                UNITED STATES BANKRUPTCY COURT
 5                               CENTRAL DISTRICT OF CALIFORNIA
                                      LOS ANGELES DIVISION
 6
     In Re:                                      Case No.: 2:23-10545-BR
 7

 8 ROBERT DANIEL WARD
                                                          %"$&*!&!*"%*"*%!)-#"&!)'!-)%& %& %& %& %& %& %& &*!'% ')!1
                                                                              105452
                                                 Chapter: 7
 9
                                                 NOTICE OF CONTINUED MEETING OF
10                                               CREDITORS AND APPEARANCE OF
                                                 DEBTOR [11 USC 341(a)]
11                          Debtor(s)

12 COUNSEL: PRO SE
   TO THE ABOVE NAMED DEBTOR(S):
13
          You are hereby notified that the Meeting of Creditors pursuant to Title 11 U.S.C. Section
14 341(a) in the above-entitled matter was continued to 06/01/23 at 08:00 AM at Telephonically 1-866-
   917-0421 and, enter participant code number 6008507, for the reason set forth below:
15
   -Apperance Required
16 -Please Email Pro Se Dec
              -Please Email SSN & DL
17

18
     Dated:   May 5, 2023                          /s/ Rosendo Gonzalez
19                                                 ROSENDO GONZALEZ, TRUSTEE

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 Case 2:23-bk-10545-BR      Doc 24 Filed 05/05/23 Entered 05/05/23 15:54:25              Desc
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 1                                       PROOF OF SERVICE

 2                             CENTRAL DISTRICT OF CALIFORNIA
                                    LOS ANGELES DIVISION
 3
      STATE OF CA, COUNTY OF LOS ANGELES
 4
             I’m employed in the county of Los Angeles, State of California. I am over the age of 18
 5    and not a party to the within action; my business address is 530 South Hewitt Street, Suite 148,
      Los Angeles, CA 90013.
 6
            On May 5, 2023, I served the foregoing document described as Notice of Continued
 7    Meeting on the interested parties in action.

 8       By placing true copies thereof enclosed in sealed envelope(s) addressed as follows:

 9       ROBERT DANIEL WARD
         28196 ROBIN AVE
10       SANTA CLARITA, CA 91350

11       PRO SE

12

13

14       BY MAIL
           I deposited such envelope in the mail at Los Angeles, California. The envelope was
15         mailed with postage thereon fully prepaid.
           I am “readily familiar” with the firm’s practice of collecting and processing
16         correspondence for mailing. Under that practice it would be deposited with U.S. postal
           service on that same day with postage thereon fully prepaid at Los Angeles, California in
17         the ordinary course of business. Executed on May 5, 2023, at Los Angeles, California.
           I declare under penalty of perjury under the laws of the state of California that the above
18         is true and correct.

19
                                                        /s/ Mireya Gonzalez
20                                                      Mireya Gonzalez

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